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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OKLAHOMA

United States of America,

Plaintiff, Case No.: 24-cr-330-JDR
Date: 10/31/2024
Court Time: 1:00 p.m.

VS.

Kourtney Dawn Haley,

Defendant(s). MINUTE SHEET — ARRAIGNMENT

Christine D. Little, U.S. Magistrate Judge T. Calico, Deputy Clerk Magistrate Courtroom |

Counsel for Plaintiff; | David Nasar

Counsel for Defendant: Andrew Michael-Don Casey _, Appt.

Interpreter: ) sworn
Defendant appears in person for Arraignment on: & Indictment; C) Information; C) Complaint;
(with Counsel; C) Counsel waived; CJ w/o Counsel;
fendant acknowledges receipt of Indictment Indictment: O Read; 2) Reading waived;

col Defendant advised of charge;
Defendant’s name as reflected inthe Indictment;

tified in open court as the true and correct legal name
O Corrected by interlineation to
to reflect Defendant’s true and correct legal name and all previous filings are amended by interlineation to reflect same.
O Unable to verify in open court as the true and correct legal name: UO) U.S. Attorney; CX Deft’s Att. to verify and advise court;

22 -Avraignment held and Defendant pleads Not Guilty; Court accepts plea ce*Schedule to be entered;
Defendant waives: Indictment; © Detention Hearing; LU Separate Representation [ Waivers approved by Court;
CJ Arraignment continued to: at

C) Detention Hearing scheduled: at

CADefendant allowed to stand on present bond; LC) Government stipulates, findings made

OC] Defendant remanded to custody of U.S. Marshal

Additional Minutes:

Minute Sheet - Arraignment (CR-01f 6/2021)
